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 1                                                                The Honorable Lauren King
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                    NO. 2:25-cv-00244-LK
10                     Plaintiffs,                   DECLARATION OF WILLIAM
                                                     MCGINTY IN SUPPORT OF
11      v.                                           PLAINTIFFS’ MOTION FOR
                                                     PRELIMINARY INJUNCTION
12   DONALD J. TRUMP, in his official capacity
     as President of the United States, et al.,      NOTE ON MOTION CALENDAR:
13                                                   February 28, 2025, at 2:00 p.m.
                       Defendants.
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     DECL. OF WILLIAM MCGINTY ISO                             ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
     PLS.’ MOT. PRELIM. INJ.                                       800 Fifth Avenue, Suite 2000
     NO. 2:25-cv-00244-LK                                              Seattle, WA 98104
                                                                          (206) 464-7744
           Case 2:25-cv-00244-LK           Document 173       Filed 02/19/25      Page 2 of 3




 1          I, William McGinty, declare as follows:
 2          1.       I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. I am one of the attorneys representing Plaintiff
 4   State of Washington in the above-captioned matter.
 5          2.       Attached as Exhibit 1 is a true and correct copy of a news article published by
 6   PoliticoPro on February 6, 2025, written by Alice Miranda Ollstein, Chelsea Cirruzzo, and
 7   Daniel Payne titled “Safety net clinics hit by funding freezes, threats over DEI and gender.” I
 8   accessed    this   article   online   at   the   URL,   https://subscriber.politicopro.com/article
 9   /2025/02/safety-net-clinics-hit-by-funding-freezes-threats-over-dei-and-gender-00202858              on
10   February 17, 2025 and used the print feature on the website to save a PDF copy using a print to
11   PDF function.
12          3.       Attached as Exhibit 2 is a true and correct copy of the Center for Disease
13   Control’s web page on Adolescent and School Health, titled “Health Disparities Among LGBQ
14   Youth.” I accessed this article online at the URL, https://www.cdc.gov/healthy-youth/lgbtq-
15   youth/health-disparities-among-lgbtq-youth.html on February 17, 2025, and used the print
16   feature on the website to save a PDF copy using a print to PDF function.
17          4.       Attached as Exhibit 3 is a true and correct copy of President Donald J. Trump’s
18   transcribed remarks at the World Economic Forum on January 23, 2025. I accessed this article
19   online at the URL, https://www.whitehouse.gov/remarks/2025/01/remarks-by-president-trump-
20   at-the-world-economic-forum/ on February 17, 2025, and used the print feature on the website
21   to save a PDF copy using a print to PDF function.
22          5.       Attached as Exhibit 4 is a true and correct copy of Executive Order 14,190, titled
23   “Ending Radical Indoctrination in K-12 Schooling,” which was signed on January 29, 2025. I
24   accessed this article online at the URL, https://www.federalregister.gov/d/2025-02232/page-
25   8853 on February 17, 2025, and used the print feature on the website to save a PDF copy using
26   a print to PDF function.


     DECL. OF WILLIAM MCGINTY ISO                      1              ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
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     NO. 2:25-cv-00244-LK                                                      Seattle, WA 98104
                                                                                  (206) 464-7744
           Case 2:25-cv-00244-LK         Document 173        Filed 02/19/25         Page 3 of 3




 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED this 19th day of February 2025 at Olympia, Washington.
 4
                                                  /s/ William McGinty
 5                                                WILLIAM MCGINTY, WSBA #41868
                                                  Assistant Attorney General
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     DECL. OF WILLIAM MCGINTY ISO                     2                 ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
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     NO. 2:25-cv-00244-LK                                                        Seattle, WA 98104
                                                                                    (206) 464-7744
